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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

UNITED STATES OF AMERICA,                          CR 21-29-M-DLC

               Plaintiff,
                                            DEFENDANT DeFRANCE’S
vs.                                       COMBINED OPPOSED MOTION
                                          FOR ACQUITTAL AND MOTION
MICHAEL BLAKE DeFRANCE,                   TO ARREST JUDGMENT UNDER
                                         RULES 29(c) AND 34, Fed.R.Crim.P.;
              Defendant.                   AND ALTERNATIVE MOTION
                                         FOR A NEW TRIAL UNDER RULE
                                              33(b)(2), Fed.R.Crim.P.



                                    MOTION

      COMES NOW, Michael Blake DeFrance, the above-named Defendant, by

and through his counsel of record, Michael Donahoe, and the Federal Defenders of

Montana, and respectfully moves for acquittal under Rule 29(c) of the Federal Rules


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of Criminal Procedure; and likewise moves to arrest the Court’s May 1, 2023,

judgment in this case (ECF No. 182) on the ground that the Court lacks jurisdiction

to enter it. Further, Mr. DeFrance contends under Rule 33 that the Court should take

additional proof, if necessary.

                                        GROUNDS

      1. Mr. DeFrance is not a prohibited person under the Court’s findings and
         conclusions considering passage of the Bipartisan Safer Communities Act on
         June 25, 2022.

      2. It was impossible for the victim of Mr. DeFrance’s 2013 Partner Family
         Member Assault (PFMA) conviction to be situated as a spouse both because
         she was a minor, had no permission to marry from a court or her parent, and
         did not cohabit with Mr. DeFrance.

      3. The Court’s findings and conclusions are insufficient to convict beyond a
         reasonable doubt under Jackson v. Virginia, 443 U.S. 307 (1979).

      4. The collateral estoppel clause/issue preclusion rules and the double jeopardy
         clause in the Fifth Amendment prohibit the Court from retrying the Montana
         PFMA relationship element. Mr. DeFrance, as a matter of both fact and law,
         was in a boyfriend-girlfriend dating relationship with his PFMA victim which
         at the time of the PFMA in 2013 did not render him a prohibited person under
         §922(g)(9) and its affiliated statutes; and the Court has no jurisdiction under
         18 USC §3231 to change that by retrying the relationship element of his
         PFMA. A categorical analysis of the 2013 Montana PFMA statute vis-à-vis
         §922(g)(9) and its affiliated statutes shows that the former is overinclusive
         vis-à-vis the latter and the second superseding indictment should, therefore,
         be dismissed because it fails to state an offense both on its face and post-trial.
         The Court did not have, and does not have, jurisdiction to retry the Montana
         PFMA.

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                   CONTACT WITH OPPOSING COUNSEL

      Government counsel, Jennifer S. Clark, opposes this motion on behalf of the

United States.

                                  CONCLUSION

      WHEREFORE, based on this motion and the brief that supports it, Mr.

DeFrance prays the Court will acquit him of the charges against him; arrest its May

1, 2023, judgment for lack of jurisdiction in this case pursuant to Rules 29(c) and 34

of the Federal Rules of Criminal Procedure; or in the alternative, grant him a new

trial and/or take additional evidence under Rule 33(b)(2) of the Federal Rules of

Criminal Procedure.

      RESPECTFULLY SUBMITTED this 15th day of May, 2023.

                                              /s/ Michael Donahoe
                                              MICHAEL DONAHOE
                                              Deputy Federal Defender
                                              Counsel for Defendant




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                           CERTIFICATE OF SERVICE
                                  L.R. 5.2(b)

         I hereby certify that on May 15, 2023, a copy of the foregoing document was

served on the following persons by the following means:

     1         CM-ECF

     2         Mail

1.       CLERK, UNITED STATES DISTRICT COURT

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2.       MICHAEL BLAKE DeFRANCE
             Defendant

                                        /s/ Michael Donahoe
                                        FEDERAL DEFENDERS OF MONTANA




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